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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

PR ECISIO N CO NTR ACTING SO LUTIO NS, LP,
8222 Ge orgia Ave nue
Silve r Spring, M D 209 10

D ER R ICK S. SIEBER
9 412 St. Andre w s W ay
Silve r Spring, M D 209 01                          Cas e No.

STEPH EN C. SIEBER
1805 45th Stre e tN.W .
W as h ington D .C. 20001


CAR O LY N TO R SELL
1135 6th Stre e tN.E.
W as h ington D .C. 20001

                             Plaintiffs ,

        v.

ANGI H O M ESER VICES, INC.
14023 D e nve r W e s tPk w y, Bldg. 64
Golde n, CO 80401

ANGIE’S LIST, INC.
1030 E. W as h ington Stre e t
Indianapolis , IN 46204

K ENNETH VO GEL
1642 R Stre e tN.W .
W as h ington D .C. 20009


TH E D ISTR ICT O FCO LUM BIA
444 4th Stre e tN.W .
W as h ington D .C. 20001

                            D e fe ndants .

                                       NOTICE OF REMOVAL
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        D e fe ndants ANGI H om e s e rvice s , Inc. d/b/a H om e Advis or (“H om e Advis or”)and Angie ’s

Lis t, Inc. (“Angie ’s Lis t”), by and th rough th e ir unde rs igne d couns e l, h e re by provide notice

purs uant to 28 U.S.C. §§1331 and 1441 of th e re m ovalof th e above -captione d cas e from th e

Supe rior Courtof th e D is trictof Colum bia, to th e Unite d State s D is trictCourtfor th e D is trictof

Colum bia.1 Th e grounds for re m ovalare as follow s :

        1.       O n Se pte m be r 10, 2019 , Plaintiffs filed th e ir Com plaint for Violation of th e

Fe de ralTrade Com m is s ion Act, Tortious Inte rfe re nce , False Ligh t, and Cons piracy in th e

Supe rior Courtfor th e D is trictofColum bia.

        2.       As s e t forth m ore fully be low , th is cas e is prope rly re m ove d be caus e th is Court

h as fe de ral-q ue s tion juris diction unde r 28 U.S.C. §§ 1331 and 1441, as w e llas s upplem e ntal

juris diction purs uantto 28 U.S.C. §1367.

I.      THE PROCEDURAL REQUIREMENTS OF REMOVAL ARE MET.

        3.       Purs uantto 28 U.S.C. §1446(a), true and corre ctcopie s of allproce s s , pleadings ,

orde rs and oth e r docum e nts s e rve d upon D e fe ndants are attach e d as Exhibit A.

        4.       In accordance w ith 28 U.S.C. §1446(d), D e fe ndants w illprovide w ritte n notice of

th e re m ovalof th is action to Plaintiff, and w illfile a copy of th is Notice of R e m ovalw ith th e

Clerk of th e Supe rior Courtof th e D is trictof Colum bia. A copy of th atnotice to be filed w ith

th e Supe rior Courtofth e D is trictofColum bia, w ith oute xh ibits , is attach e d as Exhibit B.

        5.       Plaintiffs filed th is law s uiton Se pte m be r 10, 2019 . As s uch , D e fe ndants filing of

th is Notice of R e m ovalon Se pte m be r 15, 2019 , is tim e ly filed. See 28 U.S.C. § 1446(b)(1)




1
  Plaintiffs h ave incorre ctl  y ide ntifie d one of th e D e fe ndants as “ANGI H om e s e rvice s , Inc. d/b/a
H om e Advis or.” ANGI H om e s e rvice s , Inc. is th e pare nt com pany of H om e Advis or, Inc., w h ich doe s
bus ine s s as H om e Advis or.


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(Notice of R e m ovalm us tbe filed “w ith in 30 days of re ce ipt. . . of th e initialpleadings s e tting

forth th e claim for re lie fupon w h ich s uch action or proce e ding is bas e d[.]”)

        6.       Furth e r, purs uantto 28 U.S.C. §1446(b)(2)(A), allde fe ndants re q uire d to cons e nt

to th is re m ovalh ave provide d s uch cons e nt. Spe cifically, on Friday, Se pte m be r 13, 2019 ,

couns e lfor Angie ’s Lis t and H om e Advis or contacte d D e fe ndant K e nne th Voge lw h o e xpre s s ly

cons e nte d to th e filing ofth is Notice ofR e m oval,orally and in w riting. Couns e lfor Angie ’s Lis t

and H om e Advis or also s ubs e q ue ntly contacte d couns e lfor th e D is trict of Colum bia w h o

indicate d th at D e fe ndant D is trict of Colum bia doe s not oppos e re m ovalbut th at th e D is trict of

Colum bia h ad notye tbe e n s e rve d w ith proce s s and, th e re fore , its cons e ntw as notre q uire d.

        7.       Th e Unite d State s D is trict Court for th e D is trict of Colum bia pre s ide s in th e

locality in w h ich th e s tate court action is now pe nding. It is th e re fore a prope r forum for

re m oval. See 28 U.S.C. §1441(a).

II.     REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
        JURISDICTION PURSUANT TO 28 U.S.C. §§ 1331 AND 1441.

        8.       Th is Courth as fe de ralq ue s tion juris diction unde r 28 U.S.C. §§1331 and 1441.

        9.       Plaintiffs ’Com plaintall
                                         e ge s various violations of th e Fe de ralTrade Com m is s ion

Act(“FTCA”)and th e Cons um e r R e vie w Fairne s s Act(“CR FA”), 15 U.S.C. §45b, claim ing th at

H om e Advis or’s and Angie ’s Lis t’s action in re m oving PCS’s profile, ratings and re vie w s from

th e ir w e bs ite s violate d th e FTCA and CFR A. (See generally Com plaint¶¶65-9 7.) In addition

to th e fe de ralclaim in Count I, Plaintiffs ’s tate law claim s , i.e . Tortious Inte rfe re nce w ith

Exis ting and Pros pe ctive Bus ine s s R e lations , False Ligh t, Cons piracy, and re q ue s t for punitive

dam age s , turn on a q ue s tion offe de rallaw .

        10.      O n its face , Plaintiffs ’“Com plaintfor Violation ofth e Fe de ralTrade Com m is s ion

Act, Tortious Inte rfe re nce , False Ligh t, and Cons piracy,”is pre m is e d upon allege d violations of


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th e FTCA and CR FA. Th at is , Plaintiffs bring th is action and s e e k re m e die s and dam age s

purs uantto fe de rallaw , s pe cifically, 15 U.S.C. §45b. (See Com pl.§§65-9 7). Spe cifically, e ach

ofPlaintiffs ’s tate law claim s (tortious inte rfe re nce , false ligh t, and cons piracy)h inge on w h e th e r

D e fe ndants violate d th e FTCA and CR FA, as allege d in Count I. Inde e d, Plaintiffs re ly on th e

FTCA and CR FA th rough outth e ir e ntire Com plaint.

        11.      In Count II, Plaintiffs claim th at “[b]y inte ntionally and unlaw fully re m oving

[PCS’s] profiles , ratings and re vie w s from th e ir w e bs ite s . . . in violation of FTCA Se ction 45b,

as s e tforth above in th is Com plaint, Corporate D e fe ndants inte ntionally inte rfe re d w ith both th e

e xis ting and pros pe ctive bus ine s s re lations of PCS.”(Com plaint ¶106.). Sim ilarly, Count III

s olely focus e s on th e legality of D e fe ndants ’re m ovalof PCS’s profile on th e ir w e bs ite . (See

generally Com plaint ¶¶108-117.) Th e Cons piracy claim also turns on th e FTCA and CFR A,

s e e k ing to h old D e fe ndant Voge land th e D is trict of Colum bia jointly liable for th e “unlaw ful

re m ovalof PCS profiles , ratings and cons um e r re vie w s ” from D e fe ndants ’w e bs ite s w h ich

“violate d Se ction 45b of th e Fe de ralTrade Com m is s ion Act . . . tortious ly inte rfe re d w ith both

e xis ting and future contracts of PCS; and [] place d PCS in a false ligh t to th e publ
                                                                                        ic . . . .”

(Com plaint¶¶119 , 132.)

        12.      Plaintiffs also s e e k , am ong oth e r th ings , s tatutory dam age s re late d to allege d

violations ofth e FTCA and CR FA. (See generally W H ER EFO R E claus e s and re q ue s ts for re lie f

lis ting re q ue s te d dam age s for allege d violations ofth e FTCA).

        13.      As s uch , th is Courth as originaljuris diction ove r th e s ubje ctm atte r purs uantto 28

U.S.C. §1331. Th e re fore , th is is a civilaction th atm ay be re m ove d to th is Courtpurs uantto 28

U.S.C. §§1441 and 1446.




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        14.      To th e e xte nt ne ce s s ary, th is Court m ay also e xe rcis e s upplem e ntaljuris diction

purs uantto 28 U.S.C. §1367 ove r Plaintiffs ’s tate law claim s : tortious inte rfe re nce claim (Count

II), false ligh t claim (Count III), and cons piracy claim agains t allde fe ndants (Count IV).

Supplem e ntaljuris diction e xis ts ove r e ach of th e s e s tate law claim s be caus e th e ir ope rative facts

are th e s am e as th e facts allege dly giving ris e to Plaintiffs ’FTCA and CR FA claim , s uch th at

th e y form partofth e s am e cas e or controve rs y unde r Article II ofth e Unite d State s Cons titution.

(See Com plaint ¶¶9 8, 108, 118, 136) (s pe cifically incorporating “by re fe re nce ”th e allegations

re cite d for th e FTCA and CR FA claim (CountI)).

        15.      Accordingly, th is Courth as s ubje ctm atte r juris diction ove r Plaintiffs ’Com plaint,

and allclaim s containe d th e re in, purs uantto 28 U.S.C. §§1331, 1367(a), and 1441.

        16.      In th e filing of th is Notice of R e m oval, D e fe ndants do not w aive and e xpre s s ly

re s e rve allobje ctions and/or de fe ns e s to w h ich th e y are e ntitled unde r Fe de ralR ule of Civil

Proce dure 12(b)and any oth e r rules applicable to th is caus e ofaction.

        W H ER EFO R E, purs uant to 28 U.S.C. §§ 1331, 1367(a), 1441, and 1446, D e fe ndants

re s pe ctfully re m ove th is action now pe nding in th e Supe rior Courtof th e D is trictofColum bia to

th e Unite d State s D is trictCourtfor th e D is trictofColum bia.

D ate d: Se pte m be r 16, 2019

                                                            R e s pe ctfully s ubm itte d,

                                                            s /Jos h ua D . Sch ne ll
                                                            Jos h ua D . Sch ne ll(D .C. Bar No. 49 3409 )
                                                            ICE M ILLER LLP
                                                            20 FStre e tNW , Suite 850
                                                            W as h ington, D C 20001
                                                            Te leph one : (202)572-1603
                                                            Facs im ile: (202)572-1604
                                                            Em ail: jos h ua.s ch ne ll@ ice m iller.com

                                                            Attorney for Defendants ANGI Homeservices,
                                                            Inc. and Angie’s List, Inc.
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                                      CERTIFICATE OF SERVICE

         I ce rtify th aton th e 16th day of Se pte m be r, 2019 , a copy of th is Notice of R e m ovalw as
filed e lectronically via th e Court’s E-Filing Sys te m and s e rve d upon allECF-re gis te re d couns e l
or via firs t-clas s m ail,pos tage pre paid upon th e follow ing:

                          Edw ard W . Lyle
                          1250 Conne cticutAve nue NW , Suite 700
                          W as h ington, D .C. 20036

                          D e rrick S. Sie be r, pro se
                          9 212 St. Andre w s W ay
                          Silve r Spring, M D 209 01

                          Ste ph e n C. Sie be r, pro se
                          1805 - 45th Stre e tNW
                          W as h ington, D .C. 20007

                          K e nne th Voge l
                          1642 R Stre e tN.W .
                          W as h ington D .C.

                          D is trictofColum bia,
                          a m unicipalcorporation
                          444 - 4th Stre e tN.W .
                          W as h ington, D .C. 20001

                                                    /s /Jos h ua D . Sch ne ll
                                                    Signature


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